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              UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

      vs                                     Case No.: 3:19cr60/MCR/EMT

NOAH D. STIRN


                                     ORDER

Defendant’s letter addressed to “The United States of America,” but mailed to “U.S.
Magistrate Judge Elizabeth M. Timothy,” was received by the clerk of court on June
25, 2019, and referred to the undersigned with the following deficiencies:

      A party must not address or send a letter to a judge. See N.D. Fla. Loc.
      R. 7.1(A), (M).

      Defendant is represented by counsel, and therefore he should direct all
      correspondence to his counsel of record.

For these reasons, it is ORDERED that:

      The clerk of court is directed to return the letter to Defendant without
      electronic filing.

DONE AND ORDERED this 28th day of June 2019.



                                /s/ Elizabeth M. Timothy
                                ELIZABETH M. TIMOTHY
                                CHIEF UNITED STATES MAGISTRATE JUDGE
